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                                               October 30, 2017


VIA ECF

Honorable John G. Koeltl
United States District Court for the Southern District of New York
500 Pearl Street
New York, NY 10007

           Re:          Cynthia Ward v. Chanel, Inc., U.S.D.C. S.D.N.Y. No.: 17-cv-04790 (JGK)(JCF)

Dear Judge Koeltl:

        This firm represents Defendant Chanel, Inc. in the above-referenced matter. We write on
behalf of both parties to report to the Court on the status of the case, pursuant to the Court’s
September 14, 2017 Order.

       On September 19, 2017, the parties participated in a conference call with the mediator. On
September 22, 2017, the mediator scheduled mediation for November 15, 2017 at 10:00 a.m.
Absent further instruction, the parties will report to the Court on the status of the case after the
mediation session is held.

           Thank you.

                                                    Sincerely,

                                                    SEYFARTH SHAW LLP

                                                    /s/ Mary Ahrens Vadasz

                                                    Mary Ahrens Vadasz


cc:        Megan S. Goddard, Esq. (via ECF)
           Lorie E. Almon (via email)




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